Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 1 of 109 PageID #:2578




                       Exhibit 1
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 2 of 109 PageID #:2579




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                          EMPLOYEE HANDBOOK

                                                    April 2017




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 135189285.3

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 Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 3 of 109 PageID #:2580


                                                    TABLE OF CONTENTS

                                                                                                                                      Page


A.         ABOUT THIS HANDBOOK ................................................................................. 1
B.         IMPORTANT INFORMATION ABOUT THIS HANDBOOK............................ 1
C.         OPEN DOOR PHILOSOPHY ................................................................................ 2
D.         CODE OF CONDUCT ........................................................................................... 2
           1.            Ethics ........................................................................................................... 2
           2.            Confidentiality ............................................................................................. 3
           3.            Outside Employment/Work and Service as a Director or Officer ............... 3
           4.            Personal Use of Campaign Funds, Assets or Equipment ............................ 4
           5.            Gifts ............................................................................................................. 4
           6.            Standards of Conduct ................................................................................... 5
           7.            Personal Conduct and Appearance .............................................................. 6
           8.            Alcohol/Drug Use ........................................................................................ 6
           9.            No Weapons Policy ..................................................................................... 7
E.         EQUAL EMPLOYMENT OPPORTUNITY ......................................................... 7
           1.            Religious Accommodation .......................................................................... 8
           2.            Disability Accommodations ........................................................................ 8
           3.            Harassment .................................................................................................. 9
                         a.        Harassment Prevention ..................................................................... 9
                         b.        Meaning of “Harassment” ................................................................ 9
                         c.        Sexual Harassment ......................................................................... 10
                         d.        Reporting and Investigation Procedures ......................................... 11
F.         EMPLOYMENT PRACTICES ............................................................................ 12
           1.            Definitions of Employee Status ................................................................. 12
           2.            Employee Records ..................................................................................... 12
           3.            Personnel Information Changes ................................................................. 12
           4.            Employment Reference Inquiries .............................................................. 13

                                                                       -i-
  135189285.3


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                                                                                                                               Campaign_L000489
 Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 4 of 109 PageID #:2581




     •     The Employee Handbook is the property of the Campaign. It may not be duplicated in
           any way without written permission from the Campaign.

     •     This handbook addresses policies in all Campaign offices, except where applicable law
           requires exceptions or changes to a policy.

     •     Questions about the policies in this handbook should be directed to the Campaign
           Manager.

C.         Open Door Philosophy

As part of our commitment to professionalism and respect for each individual associated with the
Campaign, we encourage open, transparent communication. This means that anyone can raise
issues, questions, or problems with senior members of the Campaign.

Your first resource is your direct supervisor. If you are uncomfortable talking with your
supervisor, or are unsatisfied with his or her response, your next resource is the Deputy
Campaign Manager. If you are uncomfortable talking with the Deputy Campaign Manager or
you are still dissatisfied with the response you have gotten, you can contact the Campaign
Manager directly.

If you want your issue to be handled confidentially, please say so. Bear in mind, however, that
although the Campaign will treat issues as confidentially as possible, some issues, such as sexual
harassment or security lapses, may require the Campaign to disclose the issue to others as the
issue is investigated and addressed.

D.         Code of Conduct

           1.            Ethics

The Campaign conducts its business fairly, impartially, in an ethical and proper manner, and in
compliance with all laws and regulations. Employees of the Campaign are expected to maintain
the highest professional standards and act in a manner that reflects positively upon the Campaign
and inspires confidence, respect, and trust at all times. To maintain those standards, employees
are expected to exercise discretion and sound judgment in handling all matters assigned to them
and to avoid even the appearance of impropriety. Each employee should take special care to
think how his or her conduct will appear to outside observers.

Employees are expected to obey all laws at all times when working for the Campaign. A few
rules are so important we emphasize them specifically here:



                                                                           -2-
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                                                                                                                               Campaign_L000493
 Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 5 of 109 PageID #:2582




           they have any supporter relationship with the Campaign, then they are subject to the
           restrictions below.

     •     Gifts of relatively limited or nominal value such as meals are acceptable when they are
           not connected to a Campaign event.

     •     Gifts connected in any way to a Campaign event must be raised with your Department
           Head prior to acceptance.

     •     Anything of value, including gifts, that is offered to the Campaign as an organization
           (rather than to a specific individual) may be subject to additional legal restrictions, and
           therefore may not be accepted without prior approval from the Deputy Campaign
           Manager. This includes tickets to concerts and sporting events. An employee should not
           accept an anonymous gift on behalf of the Campaign, and should instead refer the matter
           to his or her Department Head.

           6.            Standards of Conduct

Groups of people who are working together for any purpose require certain guidelines pertaining
to their conduct and relationships. Accordingly, our employees must be aware of their
responsibilities to the Campaign and to co-workers.

When standards are not followed, the Campaign is committed to providing a fair and
constructive approach to correcting these situations.

The elements of the corrective action process may include informal counseling and feedback,
written and/or final warning, suspension without pay, demotion and termination. When
appropriate, re-assignment of an employee to another position may be considered. The Campaign
reserves the right to determine the most appropriate approach based on the specific
circumstances. Employment at the Campaign remains “at will,” and can be terminated at any
time with or without cause at the option of either the Campaign or the employee. The Campaign
may use or not use the corrective action process in its sole discretion.

Types of behavior and conduct that the Campaign considers inappropriate that could lead to
disciplinary action up to and including termination, at the sole discretion of the Campaign,
include, but are not limited to, the following:

     •     Employee misconduct or other serious violations of Campaign policies or procedures;
     •     Insubordination including, but not limited to refusal to: follow management instructions;
           perform assigned tasks; accept holiday work when assigned; and purposeful delay in
           carrying out an assignment;


                                                                           -5-
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                                                                                                                               Campaign_L000496
 Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 6 of 109 PageID #:2583




     •     Violation of the drug- and alcohol-free workplace policy;
     •     Deliberate or careless damage or defacement of any Campaign property or the property
           of others;
     •     Provoking a physical altercation or threatening violence in the workplace, on or off the
           premises;
     •     Harassing, intimidating and/or disrespectful behavior;
     •     Disclosure of confidential or Campaign proprietary information to unauthorized persons;
     •     Excessive absenteeism and/or tardiness;
     •     Unauthorized use of Campaign equipment, time, materials or facilities;
     •     Falsifying employment application, personnel, or other Campaign documents or records;
     •     Unauthorized use of a Campaign credit card including usage of the Campaign card for
           personal or unapproved purchases;
     •     Unauthorized obligation of Campaign financial resources to a vendor or payee;
     •     Use of abusive or profane language;
     •     Violation of safety or environmental rules;
     •     Negligence;
     •     Job abandonment;
     •     Dishonesty;
     •     Stealing;
     •     Failure to cooperate with an internal investigation, including, but not limited to,
           investigations of violations of these rules of conduct; and
     •     Poor work performance, including, but not limited to poor quality or quantity of work,
           mistakes due to carelessness, and inability to perform the essential functions of the job.

This list is intended to be representative of the types of activities that may result in disciplinary
action. It is not intended to be comprehensive and does not alter the employment-at-will
relationship between the employee and the Campaign.

           7.            Personal Conduct and Appearance

Those who work for the Campaign are expected to dress appropriately and to conduct themselves
in a manner that will bring credit to the Campaign.

The Campaign has many visitors walking throughout its offices. Please conduct yourself in a
professional manner at all times, whether you are in an office, the hallway, or anywhere in the
building.

Our professional behavior and appearance leaves a lasting impression, so while the Campaign
provides for a campaign business casual policy, all employees should dress professionally in
attire appropriate for your position. This means that your clothing should reflect contemporary

                                                                           -6-
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                                                                                                                               Campaign_L000497
 Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 7 of 109 PageID #:2584




good taste and personal grooming and hygiene should be observed. Dress and appearance should
not be offensive to visitors or other employees. Business attire is required when attending events
or meetings with principals and external parties. If an individual is in inappropriate attire, they
will be asked to return home and change to meet office standards. These standards apply to all
staff.

           8.            Alcohol/Drug Use

Employees are expected to be fit for duty when reporting to work. The Campaign encourages
and maintains an alcohol and drug-free work environment. The Campaign prohibits employees
from working if they are under the influence of illegal drugs or alcohol. This prohibition extends
to staff attending Campaign events. If you are at a Campaign event, you are there to work, and
you may not use alcohol (or, be under the influence of drugs). This also includes the expectation
that employees not consume alcohol during working hours and at their meal break and then
return to work.

If an employee is taking prescription or over-the-counter drugs that may impair their ability to
safely and effectively perform any part of their job, they must tell their manager and the Deputy
Campaign Manager immediately. The Campaign will review the situation and determine
appropriate actions that ensure a safe and effective work place.

           9.            No Weapons Policy

In the interest of maintaining a safe and violence-free workplace, the Campaign prohibits the
carrying, transporting, storage, presence or use of prohibited weapons on its property, regardless
of whether or not the person is licensed to carry the weapon.

“Campaign property” covered by this policy includes all Campaign-owned or leased buildings
and surrounding areas such as sidewalks, walkways, parking lots and driveways under the
Campaign’s ownership or control. Under Illinois law, concealed carry licensees are permitted to
carry a concealed firearm on or about their person within a vehicle and to store a firearm or
ammunition concealed in a case within a locked vehicle or locked container out of plain view. A
licensee also may carry a firearm in the immediate area surrounding his or her vehicle for the
sole purpose of storing or retrieving a firearm from within the vehicle’s trunk, provided the
firearm is unloaded.

“Prohibited Weapons” include all types of firearms and any form of weapon or explosive
restricted under local, state or federal regulation, including illegal knives or other weapons
covered by law. Legal chemical dispensing devices such as pepper sprays that are sold
commercially for personal protection are not covered by this policy.



                                                                           -7-
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                                                                                                                               Campaign_L000498
 Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 8 of 109 PageID #:2585




E.         Equal Employment Opportunity

The Campaign is an equal opportunity employer. The Campaign believes every employee has the
right to work in an environment free from unlawful discrimination as is consistent with our
commitment to diversity, respect, and inclusion. Consistent with applicable federal, state and
local laws, the Campaign provides all employees and applicants with equal opportunity in all
aspects of the employment relationship. This includes employment decisions related to hiring,
promotions, transfers, disciplinary action, termination, and training.

The Campaign will comply with all applicable laws prohibiting discrimination in employment.
The Committee prohibits discrimination on the basis of race, color, sex, religion, age, sexual
orientation, gender identity or expression, marital or parental status, creed, national origin,
citizenship status, disability, medical condition, pregnancy, ancestry, genetic information,
military service, veteran’s status or any other protected category under local, state, or federal
law. Each office will comply with all applicable federal laws and these EEO policies, and will
also comply with any additional requirements and prohibitions of applicable state and local laws.
Every employee is responsible for ensuring that his or her conduct does not offend any of the
policies in this section of the Handbook. The Campaign expects every employee to act in full
support of its EEO policy. By doing so, employees help to create and maintain a non-
discriminatory work environment in which everyone is treated with respect. Making sure every
member of the Campaign team feels comfortable in their work environment, free from all
explicit or implicit discrimination, is a core value of this Campaign and every member is
required to help uphold it.

If an employee experiences or witnesses discrimination or harassment, they have a responsibility
to promptly bring the issue to the Campaign’s attention. (For more information about addressing
such concerns, see the section below on “Reporting and Investigation Procedures.”) Employees
can raise such good faith concerns without fear of reprisal or retaliation. The Campaign strictly
prohibits any retaliation for reporting, or for providing information in an investigation of possible
discrimination or harassment. The Campaign will take action, up to and including termination,
against any employee who the Campaign finds has engaged in any type of discrimination or
retaliation.

           1.            Religious Accommodation

The Campaign respects the religious beliefs and practices of all employees. It is committed to
reasonably accommodating the religious practices of its employees, unless doing so would create
an undue hardship to its business.




                                                                           -8-
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                                                                                                                               Campaign_L000499
 Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 9 of 109 PageID #:2586




If an employee wishes to request a religious accommodation, they must submit a written request
explaining to their supervisor and the Deputy Campaign Manager the deviation from regular
work requirements needed because of their religious belief.

The Campaign will evaluate the request considering, as appropriate, the requested
accommodation and available alternatives. The supervisor and/or the Deputy Campaign Manager
will review the request and communicate a response in a timely manner.

           2.            Disability Accommodations

The Campaign will make reasonable accommodations, as required by applicable law, when
necessary to enable a qualified individual with a disability to perform the essential functions of
his or her job without undue hardship to the Campaign’s business as part of our commitment to
inclusion and equal treatment for all team members.

Employees requiring a reasonable accommodation should contact the Deputy Campaign
Manager. The Campaign will review questions of reasonable accommodation individually, on a
case-by-case basis, through dialogue between the Campaign and the employee involved. The
Campaign may request input from knowledgeable health care providers, including seeking a
second opinion to that of the primary treating physician, as appropriate. This dialogue is intended
to help the Campaign identify and evaluate alternatives that may be effective accommodations,
and to assess whether a particular accommodation would cause undue hardship.

If an employee develops a condition that they believe creates the need for a reasonable
accommodation, he or she should submit a written request explaining the requested
accommodation to their supervisor and the Deputy Campaign Manager. In addition, the
employee should provide a health care provider statement that supports the request. A written
request will facilitate a review of possible reasonable accommodations. The Campaign abides by
all applicable laws that require employers to treat medical information with appropriate
confidentiality.

           3.            Harassment

                         a.      Harassment Prevention

The Campaign is committed to providing a work environment that is free from prohibited
harassment. Harassment is prohibited if based on an employee’s race, color, sex, religion, age,
sexual orientation, gender identity or expression, marital or parental status, creed, national origin,
citizenship status, disability, medical condition, pregnancy, ancestry, genetic information,
military service, veteran’s status or any other protected category under local, state, or federal
law, or that is otherwise against our philosophy of a workplace that promotes respect for each


                                                                           -9-
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135189285.3

                                                                                                                               Campaign_L000500
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 10 of 109 PageID #:2587




other. As discussed in more depth below, prohibited harassment may include comments, slurs,
jokes, profanity, innuendoes, cartoons, pranks, physical conduct, internet or email activity
(including accessing explicit websites from Campaign computers), etc., that is derogatory or
offensive and is based on an employee’s protected trait or status.

Besides being a violation of Campaign policy, discriminatory or harassing conduct also may
violate applicable laws. However, even if the conduct does not violate the law, if the Campaign
determines that an employee’s conduct violates the Campaign’s “no harassment” policy, the
Campaign may take disciplinary action, up to and including termination.

                         b.      Meaning of “Harassment”

Harassment is unwelcome conduct that denigrates or shows hostility or aversion toward a person
because of their legally protected trait or status, if the unwelcome conduct has the purpose or
effect of either unreasonably interfering with that person’s work performance or creating an
intimidating, hostile or offensive work environment.

Following are some examples of the types of conduct that may constitute prohibited harassment,
depending on the circumstances:

     •     Demeaning, hostile or negative communications that are based on someone’s protected
           status or trait, such as their race, color, sex, religion, age, national origin, disability,
           sexual orientation, etc. Examples include derogatory comments, hateful symbols,
           epithets, jokes, teasing, and slurs or negative stereotyping. The form of the
           communication does not matter (e.g., it could be written, verbal or graphic).

     •     Any other hostile, intimidating or threatening conduct that is directed at someone because
           of a protected status or trait, such as their race, color, sex, religion, age, national origin,
           disability, sexual orientation, etc.

                         c.      Sexual Harassment

Sexual harassment is one form of unlawful harassment. Sexual harassment is not limited to
conduct by men towards women, or by women towards men: it also can include unwelcome
gender-based or sexual conduct that is directed at someone of the same sex. Sexual harassment
includes any unwelcome sexual advances, requests for sexual favors, and any other verbal, visual
or physical conduct of a sexual nature which meets any one of the following three criteria:

     •     Submission to such conduct is made either explicitly or implicitly a term or condition of
           an individual’s employment;



                                                                          -10-
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                                                                                                                               Campaign_L000501
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 11 of 109 PageID #:2588




     •     Submission to or rejection of such conduct by an individual is used as the basis for
           employment decisions affecting the individual;

     •     The conduct has the purpose or effect of unreasonably interfering with an individual’s
           work performance or creating an intimidating, hostile, or offensive work environment.

Prohibited sexual harassment also includes any effort by a person in authority to use his or her
position or authority to control, influence or affect the career, salary, employment status, or terms
and conditions of employment of any employee or prospective employee in exchange for sexual
favors. No manager or other Campaign employee may state or imply to anyone that cooperation
or non-cooperation of a sexual nature could have either a positive or negative effect on the
person’s career development or on any term or condition of employment. The Campaign also
prohibits anyone from making or threatening reprisals if an individual rejects any sexual advance
or other sexual conduct.

Here are some examples of conduct that may constitute prohibited sexual harassment, depending
on the circumstances:

     •     Unwelcomed or unwanted physical advances of a sexual nature. This includes
           patting, pinching, brushing up against, hugging, cornering, kissing, fondling, and any
           other similar physical contact unacceptable to another individual.

     •     Requests or demands for sexual favors. This includes repeated, unwanted requests for
           dates, subtle or blatant expectations, pressures or requests for any type of sexual favor
           accompanied by an implied or stated promise of preferential treatment or threat of
           negative consequences concerning one’s employment status.

     •     Verbal abuse, slurs, and jokes. This includes oral or written comments (including via
           email or text message) about an individual’s body or appearance – where such comments
           go beyond a mere compliment – including sexually oriented comments, sexual
           innuendoes or actions (“dirty jokes”).

     •     Graffiti and cartoons. This includes demeaning or hostile written, graphic,
           communications (including email communications) relating to sex.

     •     Threats, physical contact, pranks, vandalism. This includes physically intimidating
           conduct directed at person because of the person’s sex.




                                                                          -11-
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Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 12 of 109 PageID #:2589




                         d.      Reporting and Investigation Procedures

All employees have the right to be free from unlawful discrimination, harassment or retaliation
by coworkers, managers or others they encounter through Campaign employment. If an
employee believes they are experiencing unlawful discrimination, harassment or retaliation, they
have a responsibility to immediately notify at least one of the following:

     •     their immediate supervisor; or

     •     the Deputy Campaign Manager; or

     •     the Campaign Manager.

Any manager who receives a complaint of possible discrimination, harassment or retaliation
must notify the Deputy Campaign Manager immediately. The Campaign will treat all such
complaints seriously and will promptly investigate the situation. If the Campaign finds that
prohibited conduct has occurred, the Campaign will take immediate and appropriate action to
address the situation. Examples of appropriate action may include counseling, training, and/or
taking disciplinary action, up to and including termination.

No employee will be subjected to any form of retaliation for making a good faith complaint of
possible discrimination or harassment, or for participating in an investigation of such a
complaint. Any employee who believes they have suffered or witnessed any form of retaliation
should report the matter immediately as described above.

Anyone who violates the Campaign’s “no harassment” or “no retaliation” policy is subject to
prompt disciplinary action, up to and including termination.

F.         Employment Practices

           1.            Definitions of Employee Status

The following terms are used to describe the classification of employees and their employment
status:

           Full-time. Employees scheduled to work 40 hours or more per week.

           Part-time. Employees scheduled to work less than 40 hours per week. Those employees
           working fewer than 30 hours per week are ineligible for Campaign paid benefits.

           Temporary. Employees hired by the Campaign for what is contemplated to be a limited
           period of time, six months or less.

                                                                          -12-
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                                                                                                                               Campaign_L000503
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 13 of 109 PageID #:2590




discount that they offer to others. However, the Campaign must never receive a rate that is not
offered to other similarly situated entities.

           5.            Contracts

All contracts and requests for contracts should be forwarded to your supervisor or a named
designee. No one other than the Campaign Manager may sign contracts for the Campaign.

Note: The Campaign is a union-supported and supporting organization. At all times union labor
and facilities are the preferred route. Use union hotels, print shops (our printed material must
have a union bug), technicians, etc. The only time it is acceptable to go non-union is if there is
truly no alternative.

J.         Time off Work

Except as stated otherwise in this handbook or as required by applicable law, any leave time
must be approved by your direct supervisor.

           1.            Sick Leave

The Campaign provides up to ten (10) paid sick days (80 hours) per calendar year to regular full-
time employees. Employees may use paid sick leave for their own illness, injuries, or medical
care or for the illness, injuries, or medical care of family members. For purposes of this policy,
“family member” means a child, legal guardian or ward, spouse, domestic partner, parent, the
parent of a spouse or domestic partner, sibling, grandparent, grandchild, or any other individual
related by blood or whose close association with the employee is the equivalent of a family
relationship. The definition of “family member” also includes step- and foster relationships. Sick
leave can also be used if the employee or a family member is the victim of domestic violence or
a sex offense, or if the employee’s place of business or the child care facility of his or her child
has been closed by an order of a public official due to a public health emergency.

Sick leave must be used in increments of at least four hours. If the need for paid sick leave is
foreseeable, an employee must provide seven days’ advance notice of his or her intent to take
leave. If the need for leave is unforeseeable, the employee must provide as much notice as is
practical..

The sick day allowance is computed at a rate of two (2) hours for every 40 hours worked.
(Exempt employees are assumed to work 40 hours per workweek, unless their normal work week
is less than 40 hours, in which case sick leave accrual is based on actual hours worked.)
Employees will begin accumulating sick days, on a pro-rated basis, on their very first day on the
job or July 1, 2017, whichever is later.


                                                                          -25-
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Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 14 of 109 PageID #:2591




Unused sick days may not be carried over and accumulated from year to year. Unused sick days
will not be paid to employees while they are employed or upon termination of employment.

           2.            Paid Time Off

Campaign employees will be approved to take paid time off due to personal reasons (vacation,
bereavement, etc.) at the discretion of the Campaign Manager, who is responsible for approving
requests. In assessing a request for paid time off, the Campaign Manager may consider such
factors as Campaign workload and resources and employee performance and position.

           3.            Paid Holidays

        The Campaign may be closed on certain holidays each year at the discretion of the
Campaign Manager, or on the day observed by the federal government in the event the holiday
falls on a Saturday or Sunday. Employees seeking time off to observe a religious holiday should
consult the religious accommodation policy in this handbook.

           4.            Jury Duty

If an employee is summoned for jury duty or subpoenaed to appear in court as a witness, they are
to present a copy of the summons or subpoena to their manager as soon as possible. When they
return from leave, they also must present proof of their actual attendance as a juror or witness. If
an employee is released early from jury service, they must return to work at the earliest
opportunity (either that same day or at the start of their next regularly scheduled workday. An
employee need not return to work on any day on which they serve at least four hours of jury duty
(including travel time).

           5.            Parental Leave

New mothers and fathers will be granted 3 months (90 days) of paid parental leave, to be used
within 12 months of the birth of a child or placement of a child for adoption. Parental leave runs
concurrently with other types of paid leave (including vacation time and sick leave), as well as
any applicable family and medical leave to the extent permitted by law. Once the employee’s
vacation time and sick leave is exhausted, the balance of the 3 month (90 day) period will be
paid as parental leave. Temporary employees do not accrue paid parental leave.

           6.            Personal Leaves of Absence

Full time employees may be granted a personal leave of absence without pay under certain
circumstances. A personal leave of absence is an approved period of time away from work for
personal reasons. A personal leave of absence is granted at the sole discretion of the Campaign
Manager.

                                                                          -26-
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                                                                                                                               Campaign_L000517
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 15 of 109 PageID #:2592




You become eligible to request a personal leave of absence after 90 days of service. If you desire
to take a personal leave of absence you must make arrangements with your supervisor.

A personal leave of absence begins on the first regular workday following the last day worked.
The maximum leave allowed under this policy is twelve weeks.

A written request should be submitted at least two weeks in advance of any leave of absence
which exceeds ten days, except in cases of emergency. Any leave request must include an
expected date of return. If you do not return within three days of that date, and no extension has
been requested, you will be assumed to have voluntarily resigned.

Personal leaves of absence are without pay unless either (1) you decide to use paid time off
(vacation or sick leave) during the leave and are otherwise eligible to use such hours, or (2) the
Campaign requires you to used earned vacation or sick leave.

Insurance coverage will be maintained for you while on a personal leave of absence. You may be
required to pay for the cost of insurance coverage. Please see your supervisor or the Deputy
Campaign Manager for more information. Paid time-off benefits do not accrue during a leave of
absence, but are retained at the same level.

While you are on leave, you are required to check in with your supervisor on a regular basis, to
inform us of your status and to notify us of any change in personal data. The Campaign will
make every effort to re-employ individuals returning from personal leave, but can make no
guarantees.

           7.            Military Leave

The Uniformed Services Employment and Reemployment Rights Act (“USERRA”) and other
laws apply to leave taken for military service. If you need time off for military duties, including
in the reserves or the National Guard, you should inform the Deputy Campaign Manager as soon
as you know that you may the need time off. Questions about military leave should be directed to
the Deputy Campaign Manager.

           8.            Other Kinds of Leave

                         a.      Domestic and Sexual Violence Victims Leave

Under Illinois law, victims of domestic violence, sexual assault, or stalking—or who have a
family or household member who is a victim of domestic violence, sexual assault, or stalking—
are entitled to take intermittent or other reasonable unpaid leave from work to address domestic
or sexual violence by:


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agreement or contract.




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Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 16 of 109 PageID #:2593




                •        Seeking medical attention for, or recovering from physical or psychological
                         injuries caused by domestic or sexual violence;

                •        obtaining services from a victim services organization;

                •        obtaining psychological or other counseling;

                •        participating in safety planning, temporarily or permanently relocating, or taking
                         other actions to increase the safety of the employee or the employee’s family or
                         household member from future domestic or sexual violence or ensure economic
                         security; or

                •        seeking legal assistance or remedies to ensure the health and safety of the
                         employee or the employee’s family or household member, including preparing for
                         or participating in any civil or criminal legal proceeding related to or derived from
                         domestic or sexual violence.

Employees may take up to eight weeks of such leave, on an unpaid basis, within any 12-month
period. The Campaign reserves the right to require employees to provide certification of the need
for such leave. Employees should provide at least 48 hours’ advance notice of their need to take
leave when practicable, and as soon as possible where advance notice is not practicable.

                         b.      School Visitation Leave

In accordance with Illinois law, the Campaign provides eligible employees with up to eight hours
of unpaid school visitation leave during any 12-month period. Eligible employees may use such
leave to attend school conferences or classroom activities related to the employee’s child if the
conference or classroom activities cannot be scheduled during non-work hours.

Before using school visitation leave, an employee must first exhaust all accrued vacation leave,
personal leave, compensatory leave and any other leave that may be granted to the employee
except sick leave and disability leave.

Eligible employees include: (1) biological parents; (2) persons with legal custody of a child; (3)
persons acting as a child’s guardian; (4) aunts, uncles, or grandparents; or (5) spouses of any of
the above listed persons. To be eligible, employees must have worked for the Campaign for at
least six months, and have worked at least 20 hours per week during this period.

Employees must, when possible, provide at least 7 days of advance notice before taking leave, or
at least 24 hours’ notice in emergencies. Employees may take no more than four hours leave in



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agreement or contract.




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Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 17 of 109 PageID #:2594




one day. The employee must consult with the Campaign to schedule the leave so as not to unduly
disrupt the Campaign’s operations.

                         c.      Voting Leave

Voting is critical to the democratic process, and the Campaign encourages employees to exercise
their right to vote. Employees will be allowed up to two hours away from work to vote in any
general or special election (or more time if needed) at a time of the Campaign’s choosing.

                         d.      Blood or Platelet Donation Leave

Employees are entitled to paid leave of one hour every 56 days for the purpose of giving blood
and up to two hours of paid leave every 56 days for the purpose of donating blood platelets.

           9.            Inclement Weather

On occasion, extreme weather conditions may interfere with normal business operations. When
inclement weather causes hazardous conditions, employees should consider personal safety first
when evaluating their ability to report to work.

When inclement weather occurs, employees should assume that the Campaign is open for
business as usual. The Campaign business closure status will be available by 7:00 a.m. the
morning of the potential closure. Employees will receive an email if there is a change in business
hours for the day.

K.         Termination of Employment

           1.            Procedure

While the Campaign hopes the employment relationship will be long and mutually rewarding,
Campaign employment is for an indefinite, non-specified period of time. Either the employee or
the Campaign is free to end the employment relationship at any time for any reason. Those
resigning from the Campaign are expected to give a minimum of two weeks advance notice.

Whether an employee’s departure from the Campaign is voluntary or involuntary, the
termination date is the last day worked unless management determines otherwise. An employee
who resigns will not be allowed to quit and then designate days following their last day worked
as sick or vacation time. Campaign paid holidays may not be designated as an employee’s date
of termination.




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agreement or contract.




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Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 18 of 109 PageID #:2595




                        Exhibit 2
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 19 of 109 PageID #:2596




                                     JB FOR GOVERNOR

                      EMPLOYEE HANDBOOK ACKNOWLEDGMENT



   By signing below, I acknowledge as follows:



    1.1 HAVE READ THE JB FOR GOVERNOR EMPLOYEE HANDBOOK IN ITS ENTIRETY
               AND I UNDERSTAND ITS CONTENTS. {initial here)            ML-
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   summarizes JB for Governor's current policies and practices. These policies and practices
   may be amended at any time with or without notice. In addition, depending upon the
   circumstances, JB for Governor retains full discretion to vary its actions in any given
   situation from written policy.

          3. I understand that nothing contained in the Employee Handbook should be
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   JB for Governor, with or without prior notice, for no reason or for any reason not prohibited
   bylaw.

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   Governor.

          5. I understand that the Employee Handbook as revised supersedes and
   replaces any and all inconsistent handbooks, manuals, and policy statements
   {whether written or oral) that I may have received.




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   Print Name                                                         Date




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Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 20 of 109 PageID #:2597




                        Exhibit 3
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 21 of 109 PageID #:2598




                                    JB FOR GOVERNOR

                      EMPLOYEE HANDBOOK ACKNOWLEDGMENT



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  (whether written or oral) that I may have received.




       Jason Benton                                                   7/7/2018

  Print Name                                                         Date




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Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 22 of 109 PageID #:2599




                        Exhibit 4
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 23 of 109 PageID #:2600




                                  JB FOR GOVERNOR

                  EMPLOYEE HANDBOOK ACKNOWLEDGMENT



By signing below, I acknowledge as follows:



 1. I HAVE READ THE JB FOR GOVERNOR EMPLOYEE HANDBOOK IN ITS ENTIRETY
             AND I UNDERSTAND ITS CONTENTS. (initial here)________.
                                                          J.C.

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(whether written or oral) that I may have received.




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___________________
Jelani Coleman               ___________________________           ________
Print Name                   Signature                             Date




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Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 24 of 109 PageID #:2601




                        Exhibit 5
'J        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 25 of 109 PageID #:2602

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•                                      JB FOR GOVERNOR

                          EMPLOYEE HANDBOOK ACKNOWLEDGMENT



       By signing below. I acknowledge as follows:




       1.1 HAVE READ THE JB FOR GOVERNOR EMPLOYEE HANDBOOK IN rrs ENTIRETY
                  ANO I UNDERSTAND ITS CONTENTS. (initial hare) C-C. .

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     (whether written or oral) that I may have received.




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     Print Name                     Signature




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Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 26 of 109 PageID #:2603




                        Exhibit 6
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 27 of 109 PageID #:2604




                                           JB FOR GOVERNOR

                           EMPLOYEE HANDBOOK ACKNOWLEDGMENT



         By signing below, I acknowledge as follows:



         1.1 HAVE READ THE JB FOR GOVERNOR EMPLOYEE HANDB~IN ITS ENTIRETY
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Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 28 of 109 PageID #:2605




                        Exhibit 7
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 29 of 109 PageID #:2606




                                            JB FOR GOVERNOR

                            EMPLOYEE HANDBOOK ACKNOWLEDGMENT



     By signing below, I acknowledge as follows:



      1. I HAVE READ THE JB FOR GOVERNOR EMPLOYEE HAN DB~~ IJS ENTIRETY
                  AND I UNDERSTAND ITS CONTENTS. (initial h e r e ) ~ -

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     Print Name
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                                        Signature




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Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 30 of 109 PageID #:2607




                        Exhibit 8
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 31 of 109 PageID #:2608




                                  JB FOR GOVERNOR

                  EMPLOYEE HANDBOOK ACKNOWLEDGMENT



By signing below, I acknowledge as follows:



 1. I HAVE READ THE JB FOR GOVERNOR EMPLOYEE HANDBOOK IN ITS ENTIRETY
             AND I UNDERSTAND ITS CONTENTS. (initial here)________.
                                                           NM

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Governor.

       5. I understand that the Employee Handbook as revised supersedes and
replaces any and all inconsistent handbooks, manuals, and policy statements
(whether written or oral) that I may have received.




___________________
 Nathaniel Madison           ___________________________
                                NM                                 ________
                                                                    07/29/18
Print Name                   Signature                             Date




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Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 32 of 109 PageID #:2609




                        Exhibit 9
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 33 of 109 PageID #:2610




                                  JB FOR GOVERNOR

                  EMPLOYEE HANDBOOK ACKNOWLEDGMENT



By signing below, I acknowledge as follows:



 1. I HAVE READ THE JB FOR GOVERNOR EMPLOYEE HANDBOOK IN ITS ENTIRETY
                                                           TSM
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(whether written or oral) that I may have received.




___________________
Tiffany Madison              ___________________________           ________
                                                                   7.27.2018
Print Name                   Signature                             Date




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Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 34 of 109 PageID #:2611




                      Exhibit 10
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                                        EMPLOYEE HANDBOOK ACKNOWLEDGMENT


            By signing below, I acknowledge as follows:



             1.1 HAVE READ THE JB FOR GOVERNOR EMPLOYEE HANDBOOK IN ITS ENTIRETY
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Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 36 of 109 PageID #:2613




                      Exhibit 11
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 37 of 109 PageID #:2614




                                  JB FOR GOVERNOR

                  EMPLOYEE HANDBOOK ACKNOWLEDGMENT



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___________________          ___________________________           ________
Print Name                   Signature                             Date




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Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 38 of 109 PageID #:2615




                      Exhibit 12
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 39 of 109 PageID #:2616




                                     JB FOR GOVERNOR

                      EMPLOYEE HANDBOOK ACKNOWLEDGMENT



   By signing below, I acknowledge as follows:



    1.1 HAVE READ THE JB FOR GOVERNOR EMPLOYEE HANDBO~S ENTIRETY
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   (whether written or oral) that I may have received.




    Kayla R. Hogan                                                    11 /6/17
   Print Name                                                         Date




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Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 40 of 109 PageID #:2617




                      Exhibit 13
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 41 of 109 PageID #:2618




                                     JB FOR GOVERNOR

                      EMPLOYEE HANDBOOK ACKNOWLEDGMENT



   By signing below, I acknowledge as follows:



    1. I HAVE READ THE JS FOR GOVERNOR EM?lOYH: HANDBOOX lN lTS ENTlRE"TY
               ANO I UNDERSTAND ITS CONTENTS. (initial here), _ __

           2. I understand that the Employee Handbook is not a contract of employment
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   (whether written or oral) that I may have received.




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   Print Name
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Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 42 of 109 PageID #:2619




                      Exhibit 14
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 43 of 109 PageID #:2620




                                                             =FOR
                                                            GOVERNOR
                                                             J BPRITZKER.COM


               PeRKINSCOIe
               COUNSEL TO GREAT COMPANIES
                                              ADVANCING RESPECT AND
                                             FAIRNESS IN THE CAMPAIGN
                                                      WORKPLACE:
                                               Non-Discrimination, Diversity
                                            and Inclusion, and Eliminating Bias

                                            A Presentation to JB for Governor Campaign Staff and
                                                                  Volunteers


                                                                     Presented by:
                                                        Jeannil Boji, Partner, Perkins Coie LLP
                                                                             I
                                                         September 12, 2018 Chicago,,Illinois
               Perkins Cae LLP




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        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 44 of 109 PageID #:2621




                                                 Why Are We Here?


                                   To advance the Campaign's cultivation of a
                                   respectful and fair workplace that is:
                                     • free of discrimination and harassment
                                     • diverse and inclusive
                                     • unbiased and respectful to all




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        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 45 of 109 PageID #:2622




                                                 What We Will Cover

                                           Legal and Campaign Protections Against
                                           Discrimination and Harassment
                                   I I.    Going Beyond: The Importance of, and the Campaign's
                                           Commitment to, Maintaining a Respectful, Diverse, and
                                           I nclusive Workplace
                                   I II. Combatting Bias in the Workplace
                                  IV, The Campaign's Policies and What You Can Do to
                                      Encourage A Respectful Workplace or if You
                                      Experience/Witness Discrimination




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        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 46 of 109 PageID #:2623




                                                         Goals of This Training

                                        ❑       Have an open and respectful dialogue about discrimination
                                                and combatting bias, and the importance of diversity and
                                                i nclusion in the Campaign workplace

          ......................        ❑        Define aspects of a respectful workplace and understand
                                                 what you can do to perpetuate a respectful and inclusive
                                                 workplace
                                        ❑        Understand the Campaign's policies policies/practices
           ...                                   designed to create and maintain a respectful workplace
                                        ❑        Understand what you can and should do if you experience or
                                                 witness discrimination, harassment, or inappropriate behavior




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                                                   Before We Begin

                                  • This training is meant to generate thoughtfulness about how we
                                    can all work towards a respectful; fair; and diverse workplace.
                                    We hope that interactions wil l be focused on productive ways we
                                    can all combat discrimination and bias and encourage respectful
                                    interactions between colleagues.

                                  • We recognize and appreciate that these topics are sensitive.
                                    Many of you in the room may have had personal experiences
                                    with discrimination or bias; and many wil l have emotional
                                    reactions to these topics or our discussions.

                                  • We ask that everyone be respectful of others and be conscious
                                    and respectful of the diversity of reactions to the topics.




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                                                     The Current Climate

                                                     Current intersection of politics, bias, diversity
                                                     i nclusion, and workplace issues, including:
                                                     • Polarizing politics
                                                     • Socially conscious and diverse generation in the
                                                       workforce
                                                     • Greater access to information than ever before


                                                     Result: Issues related to race and cultural sensitivity
                                                     at the forefront of public discourse
                                                     E.g. Black Lives Matter, Charlottesville, NFL, Starbucks, Nike




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                            Addressing Resultant Workplace Issues

                                      • Importance of candidly and actively addressing
                                        issues in the workplace

                                      • Issues/challenges particular to campaign/political
          .......... ... .. ..          workplaces




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                           Consequences of Discrimination/Bias


                                           General consequences?

                                   • Particular to campaign/political setting?




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                                                 Legal Protections Against
                                                Discrimination/Harassment
                                  • Federal Law
                                                    Title VII ("race, color, religion, sex, or national origin")
                                  • State Law
                                                    Illinois Human Rights Act ("race, color, religion, sex, national origin,
                                                    ancestry, age, order of protection status, marital status, physical or
                                                    mental disability, military status, sexual orientation, pregnancy, or
                                                    unfavorable discharge from military service")
                                  • County/City ordinances
                                                    Cook County Human Rights Ordinance ("race, color, sex, age,
                                                    religion, disability, national origin, ancestry, sexual orientation, marital
                                                    status, parental status, military discharge status, source of income,
                                                    gender identity or housing status")
                                                    Chicago Human Rights Ordinance ("race, color, sex, gender identity,
                                                    age, religion, disability, national origin, ancestry, sexual orientation,
                                                    marital status, parental status, military discharge status, lawful
                                                    source of income, or credit history")




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                                                Types of Discrimination


               • Disparate Treatment
                                                              1
               • Adverse Impact
                                                            'If'I~ I      ►   1
               • Hostile Environment/                         0111a0 dos dos
                 Harassment




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               What is Disparate Treatment Under the Law?

                                      • Employee or prospective employee is treated
                                        differently than similarly situated employees because
                                        of race or other protected characteristic.
                                      * Disparate treatment claims when:
                                        •         evidence of discriminatory comments
                                             • Evidence of being treated differently than other employees
                                               and the employer's explanation for the treatment is false —
                                               pretextual.
                                      • Examples?

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                           What is Adverse Impact Under the Law?

                                        • Does not require discriminatory intent
           ..........................
                                        • Adverse impact claims when:
                                          •       neutral rule or requirement
                                                • Disproportionate impact on protected group
                                                • Is not "Job related" and consistent with a "business
                                                  necessity"
                                        • Examples?




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                           What Is Harassment Under the Law?

                                         U nwelcome conduct that denigrates or shows
                                         hostility or aversion toward a person because of
                                         race (or another protected class) if the unwelcome
                                         conduct was sufficiently severe or pervasive to alter
                                         terms and conditions of employment.
                                         If the conduct:
                                         • explicitly or implicitly affects or interferes with (or has
                                           the purposes of affecting or interfering with) a
                                           person's employment or work performance, or
                                         • creates an intimidating, hostile, or offensive work
                                           place(HWE)


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                                                      Harassment/HWE



               How do you know if
               conduct is unwelcome
               or someone has
               perceived conduct as
               offensive?




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                           Work Environments Demand A Higher
                                       Standard
                                     What are some reasons workplace conduct
                                     demands more careful considerations and
                                     behavior?




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                                                      Harassment/HWE


                             Impossible to know FOR SURE if your
                             conduct is welcome or offensive!
                            • Recipients of conduct wil l not always say or
                              show that conduct is unwelcome
                            • Victims do not always complain right away or
                              w hile employed
                            • It is the recipient of the conduct whose
                              perspective matters


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                                              Virtual Workplace Harassment


                                                     Communications through the internet, e-mail,
                                                     and text messaging can constitute
                                                     harassment even if it takes place while
                     yelp                            employee is out of the workplace
                                        011

           A0
                                                     Proliferation of social media/electronic
                                                     communications present challenges
                                                         Not uncommon for employees to be "friends" on Facebook
                                                         and discuss social lives with one another
                                                     r   Almost'/4 of harassment victims targeted through text
                                                         messaging, e-mail, or other digital forms




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                             Legal Requirements Versus
                         Campaign Standards and Expectations
                                    • Not all "harassment" or offensive conduct is
                                      illegal under federal/state/local law.
                                    • If it erodes a fair and respectful work
                                      environment, it is contrary to Campaign values,
                                      culture, and policy.




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                    Beyond the Law: Campaign Expectations

                                  • Refrain from any conduct that others may
                                    find offensive or uncomfortable
                                                 Particularly conduct/communications related to
                                                 others'race, ethnicity, and/or culture
                                  • Combat Bias
                                  • Foster Diversity and Inclusion

                                                         Cultivate a workplace that is
                                                     respectful to, and productive for, all!

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               Beyond the Law: Cultivating A Respectful Workplace

               What constitutes a respectful workplace?
               • Free from discrimination, harassment and retaliation
               • Equal opportunity and treatment of all in a way that values inclusion
                 and difference, and which creates a welcoming and comfortable
                 environment
               • Opportunities to discuss workplace concerns, and have those
                 concerns investigated and addressed as appropriate


                   A respectful workplace depends upon each person to act and
                   communicate professionally and appropriately, consistent with
                                  Campaign policies and values.




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        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 63 of 109 PageID #:2640



                                     Beyond the Law: Combatting Bias


                                    Explicit v. Implicit Bias
                                          • Explicit:
                  ..............                  Conscious
                                                    o



                                                  Affirmative
                                                    o



                                                  Cognitive
                                                    o



                                          • Implicit:
                                                   Automatic
                                                    o



                                                   Not conscious
                                                    o



                                                   May differ from our declared beliefs
                                                    o




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                                    Explicit Bias/Intentional Conduct

                               • "We've always done it this way" is not a defense.
                               •       The fact that the employer is part of a certain
                                       i ndustry does not permit or justify otherwise
                                       i mproper conduct.
                               •       Abusive behavior that does not specifically
                                       mention a protected characteristic can also be
                                       evidence of unlawful conduct or a violation of
                                       Baxter policy.
                               •       Words that are pejorative toward a particular race
                                       or gender or ethnic group or religion are never
                                       acceptable, regardless of the environment, the
                                       speaker or the audience.
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                                                                   Implicit Bias

                                    Definition: Implicit bias is the bias in judgment and/or
                                    behavior that results from subtle cognitive processes
                                    (e.g., implicit attitudes and implicit stereotypes) that
                              ;; ;; often operate at a level below conscious awareness
                                    and without intentional control.*
                                    Our biases are formed by:
                ....... ...
                                    •      Our own "lens"
                                    •      Our own cultural experience



                                     SOURCE.. NCSGNatlwal Center for State Courts
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                    The mind sorts without telling you...




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        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 67 of 109 PageID #:2644




                         A Quick Deeper Dive Into Implicit Bias

                                    CONFIRMATION BIAS
                                       "The tendency to interpret new evidence as a
                                    confirmation of one's existing beliefs or theories"


                                    STEREOTYPE THREAT BIAS
                                       "A situational predicament in which people are or
                                    feel themselves to be at risk of confirming to
                                    stereotypes about their social group."



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                                          Implicit Association Test(IAT)
                   Designed to detect strength of a person's automatic
                   associations
                  Computerized test, 2 keys
                  • Typically 2 social and 2 evaluative categories, e.g.,
                    White/Black and pleasant/unpleasant;
                  • Closely associated categories, easier & quicker to
                    sort together
                  • Faster reaction times show implicit connections.
                  https://implicit.harvard.edu/implicit/



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        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 69 of 109 PageID #:2646




                                                  Practical Applications

                                    Where Does Implicit Bias Appear?


                                    How Does it Appear?


                                    Examples in the Workplace?




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                                                    Micro-Inequities

                                    • Quick, small acts; slights or indignities — subtle
                                      a nd often unintentional
                                    • Reveals an assumption or stereotype
                                          Repeated slights accumulate & develop a weight
          ............. .. ..             of their own
                                    • Impact teams/offices/clients/judgments -
                                      frustration, exclusion, low productivity,
                                           litigation, attrition, squandered opportunity

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                                                        Micro-Inequities Examples

                                       • Mistaken identity
           ............I


                                       • Surprise about simple accomplishments
                                       •     Using certain words only when describing candidates of color
                                            ("qualified", "articulate")
           ......................
                                       • "I don't think of you as          . You just seem normal to me."
                                       • "If you never do another thing, you've done a lot for a black
                                               57
                                         9irl.
                                       • "Aren't you worried about living in that part of town?"

                                       • "When did you move to the states?"
                                       • "Your English is so good!"
                                       • "For a               , you do a great job!"

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                                                      Where is the Line?

                                              Only conduct based on certain protected
                                              characteristics protected under federal, state and
                                              local law is actually unlawful.
                                               A single "micro-inequity" may not necessarily be
                                               unlawful or in violation of policy.
                                               BUT, a pattern of behavior involving "micro-
                                               inequities" can, over time, rise to the level of being
                                               actionable and/or a policy violation.




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                   Compounding Effects of Biased Decisions

                                          Micro amounts of bias can have macro
                                          long term effects

                                         E.g., Computer Simulation to I llustrate
                                         Effects of Even Very Small Amounts of
                                         Bias
                                         Source: Male-Female Differences: A Computer Simulation




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                                                         Why Is It So Hard?

                                          • Triggers - Cause Us to Revert to Biases (e.g.
                                            stress).
                                                • Triggers identified in Google study include: task,
                                                  numbers, clarity, perceiver
                                          • Recognizing/Acknowledging Bias
           ...... ...... ......
           ........................             • Hard to Identify
                                                • Can Feel Intuitive
                                                • We Don't Want to Admit
                                          • Lack of Diversity in the Workplace!


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                       Beyond the Law: Fostering Diversity and Inclusion



                                                         Diversity is the existence of many unique individuals in
                                                         the workplace, marketplace and community.


                                                     •     This includes men and women from different nations,
                                                           cultures, ethnic groups, generations, backgrounds, skills,
                                                           abilities and all the other unique differences that make each
                                                           of us who we are

                                                     •     Not just classes protected by anti-discrimination laws




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                                                       What is Diversity?

                                    Our COMMONALITIES &
                                    Our DIFFERENCES


                                    In:             Culture
                                                    Identity
                                                    Experiences



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        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 77 of 109 PageID #:2654



                                                 Understanding Diversity



                                                 What are our biases?
                                                   r   Predetermined inclinations/judgments
                                                       Reflexive thinking
                                                       Everyone has them, based on life experiences/point of view
               St2tiSUCs
                                                       Awareness is key
                                                   ➢ Put yourself in their shoes
                                                 What about your own personal beliefs/values
                                                        Have to give them up?
                                                   y Interfering with work product/relationships
                                                   y Speak your mind at home




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        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 78 of 109 PageID #:2655




                                                               Diversity in Our World

                                                     Race-Ethnic Compositions, 2012 and 2060: Total Population,
                                                     Children and Seniors
                                                                              American
                                                                              Indians/
                                                       White     0Black       Alaska     0 Asian       M 2• races M Hispanic
                                                                              Natives

                                                     Total population

                                                     2012   63                                                  1        1/

                                                     2060 .13

                                                     Under age 18

                                                     2012   ss                                           1          24

                                                     2060 3:3


                                                     Age 65+

                                                     2012   19                                                            1


                                                     2060

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        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 79 of 109 PageID #:2656




                                                                         Diversity at Work


                                           figure 1. In Iho U.S..Iho while gallon o11he vrorkingnyt population layea 25
                                                     1e NI is declluing. while the miuorlry gallon Is inaee>iny.

                                                        941
                                                              u
                                                              ;                                                             labor Force Participation Rates:
                                                                                                                              blate vs. Female. 9948.2012
                                                        701

                                                       60%

                                                        901

                                                        401
                                                                                                       m
                                                        901              fiW
                                                                All Ye~lo
                                                                       /
                                                        201   1F.1/
                                                        101
                                                              ~'~
                                                               N
                                                              willi                                    AU
                                                        0%
                                                               1980    1990   2000  2010  2020
                                                              —Alo:amAmeleans    —AunAmenGns
                                                              — N~-tA—           —lathe A-.—
                                          Ilaos Popdenon prole<tona are beu9 on bnoneal roles of change for ~ne.ywtn, Mh.
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        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 80 of 109 PageID #:2657




                                                      The Facts

                 By 2042, there will be no single demographic majority;
                 people of color will comprise more than 50 percent of
                 the U.S. population
                 By 2050, 1 in 5 people living in the US will be Hispanic
                 There are currently 4 generations in the workplace;
                 soon to be 5
                 Disabilities affect 20% of all Americans
                 Women earn the majority of college degrees awarded
                 in the United States
                 There are an estimated 9 million LGBT individuals in
                 the U.S.
                 1 in 5 workers have experienced discrimination or
                 unfair treatment at work



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        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 81 of 109 PageID #:2658




                    Definitions of Diversity Beyond the Law


                                                    WORK
                                                  EXPERIENCE

                                      FAMILY               COMMUNICATIONS
                                      STATUS                    STYLE
                                                    SPIRITUAL
                                                     BELIEFS

                                FIRST        CLASS         GENDER
                              LANGUAGE
                                               PHYSICAL ABILITIES      POLITICAL -
                                                      &                 BELIEFS
                                               CHARACTERISTICS
                              WORN
                              STYLE         AGE            ETHNICITY

                                             RACE          INCOME      EDUCATION

                                 MILITARY
                               EXPERIENCE         SEXUALITY
                                                                GEOGRAPHIC
                                                                 LOCATION
                                            ORGANIZATION
                                            ROLE & LEVEL




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        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 82 of 109 PageID #:2659




                         Valuing Diversity is Not an Empty Slogan


                                                      A 2015 McKinsey report on 366 public companies found that
                                                      those in the top quartile for ethnic and racial diversity in
                                                      management were 35% more likely to have financial returns
                                                      above their industry mean, and those in the top quartile for
                                                      gender diversity were 15% more likely to have returns above the
                                                      industry mean.
                                                      In a global analysis of 2,400 companies conducted by Credit
                                                      Suisse, organizations with at least one female board member
                                                      yielded higher return on equity and higher net income growth
                                                      than those that did not have any women on the board.
                                                      Nonhomogeneous teams are simply smarter. Working with
          Harvard Business Review, Nov. 2016          people who are different from you may challenge your brain to
                                                      overcome its stale ways of thinking and sharpen its
                                                      performance. Let's dig into why diverse teams are smarter.



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        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 83 of 109 PageID #:2660



                                                      From Diversity to Inclusion


                                                        Inclusion
                                                        • A work environment where everyone has an
                                                          opportunity to fully participate in creating business
                                                          success

          STARTS                                        • Each person is valued for distinctive skills,
                                                          experiences and perspectives
          WITHI                                         • People from different backgrounds part of decision
                                                          making process

                                                        • Puts diversity into action!




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CONFIDENTIAL                                                                                                      Campaign_L003040
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 84 of 109 PageID #:2661



                                                 From Diversity to Inclusion

                                                  No stereotyping
                                                    "Blonde moment."
                                                    "CPT"
           iIV+CLSIC~N                            Think when communicating
          $    TA RTS                               Remember that not everyone shares the same

           WITH                                     culture, generation, or personal experiences
                                                    No judging
                                                  OUR WORDS MATTER!!!
                                                    Demoralizing language even when not directed
                                                    at someone, or used in your personal life
                                                  r Words should reflect Campaign values
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CONFIDENTIAL                                                                                       Campaign—L003041
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 85 of 109 PageID #:2662



                                                     From Diversity to Inclusion



                                                       Inclusion leads to respect

          iN+C-L 5110N
          '
                                                       Lack of civility and respect creates
          $TARTS                                       ➢ Negative emotions

           WITH                                        ➢ Destruction of relationships
                                                       ➢ Potential harassment claim
                                                          Loss of business




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CONFIDENTIAL                                                                                          Campaign_L003042
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 86 of 109 PageID #:2663




                                                     Case Study #1


                          A Hispanic employee calls a fellow Hispanic employee a "wetback" as a
                          joke. Both employees were born in the United States, the first employee
                          only meant the term as a joke to tease the second employee about not
                          knowing a pop culture reference, and the employees are good friends - the
                          second employee says he is not offended.




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        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 87 of 109 PageID #:2664




                                                     Case Study #2


                      An employee who works for a division that is very diverse is troubled by
                      the fact that many of the employees who are of the same cultural
                      background tend to socialize with each other almost exclusively; even
                      though most of the employees regardless of their culture seem to work
                      well together. The employee believes that if everyone socialized more
                      cross culturally this might help improve the work environment.




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CONFIDENTIAL                                                                                     Campaign_1-003044
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 88 of 109 PageID #:2665




                                                     Case Study #3


                           A first rate employee who has been with his company for ten years and
                           has never had a single complaint lodged against him makes a
                           controversial statement about a coworker's race when he is asked a point
                           blank question by another coworker. The employee who made the remark
                           admits to having made the statement but refuses to apologize because he
                           believes that he is entitled to his own opinion, especially since he was
                           pressed on the matter.




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CONFIDENTIAL                                                                                           Campaign_1-003045
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 89 of 109 PageID #:2666




                                                   The Campaign's Stance

                                    • Racial discrimination and harassment are
                                      illegal, wrong, demoralizing, and antithetical to
                                      the values and qoals of the Campaign.
                                    • The Campaign is committed to stamping out
                                      bias, both explicit and implicit
                                    • Diversity and inclusion must be a part of
                                      everyday actions, and a respectful workplace
                                      m ust be maintained.
                                    • The Campaign will not tolerate inappropriate
                                      behavior.

           4   Po:k.rs Cae__P   I   P@Mns de.eom
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CONFIDENTIAL                                                                            Campaign_L003046
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 90 of 109 PageID #:2667



                                                   The Campaign's Policies


                                     The Campaign's Equal Opportunity/Anti-
                                     discrimination/Anti-harassment policies are
                                     located at Section E of the Employee Handbook,
                                     and will also be distributed today.




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CONFIDENTIAL                                                                              Campaign_L003047
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 91 of 109 PageID #:2668



                          Understanding the Campaign's Policy:
                                   General Principles
                                    • All staff members have a right to work in an
                                      environment free of hostility and inappropriate
                                      conduct, including unlawful discrimination and
                                      harassment, in the workplace.
                                    • Engaging in behavior that causes others to feel
                                      harassed, uncomfortable, or threatened is not
                                      permitted and unlawful harassment or
                                      discrimination will result in termination.




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CONFIDENTIAL                                                                            Campaign_L003048
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 92 of 109 PageID #:2669


                        What Are Some Examples of Conduct
                              Prohibited by the Policy?
                                    • Verbal abuse, slurs, jokes, or use of racially-
                                      charged terms
                                    • Written or graphic materials (including in texts, e-
                                      mails, memes, etc.)
                                    • Graffiti or cartoons - including written
                                      communications such as e-mail




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CONFIDENTIAL                                                                                 Campaign_L003049
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 93 of 109 PageID #:2670



               Dispelling Myths About Racial Discrimination/
                               Harassment
                                                     True or False?

                                                     • The test of whether a comment is
                 • Race of                             against law/policy is whether the
                                                       person on the receiving end was
                   victim/harasser matters             actually offended.
                                                     • Racially-oriented jokes between
                 • Position of harasser                friends at work do not count.
                 • No "free pass" for                • If a person laughs at your jokes;
                                                       he or she cannot then complain.
                   i ndustry or past                 • Making a joke that is directed at
                                                       yourself is okay.
                   practice                            If a person is offended by your
                                                       conduct, he or she must inform
                 • Unlawful harassment                 you before they make a
                   does not require                    complaint.

                   termination or $ loss
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CONFIDENTIAL                                                                           Campaign_L003050
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 94 of 109 PageID #:2671




                                       To Whom Does the Policy Apply?

                                           All staff are protected from harassment by:
                                           • Other staff members
                                           • Any manager or supervisor
                                           • Anyone who does business with the Campaign




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CONFIDENTIAL                                                                             Campaign_L003051
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 95 of 109 PageID #:2672




                                              When Does the Policy Apply?

                                            True or False? The Campaign's anti-
                                            harassment policy applies:
                                            • Your office or work area?
                                            • In a company vehicle?
                                            • At lunch during the day?
                                            • A bar on Friday night?
                                            • Dinner at your house?
                                            • Holiday party?
                                            • On-line exchange on Facebook or Twitter or
                                              Instagram?

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CONFIDENTIAL                                                                                Campaign_L003052
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 96 of 109 PageID #:2673



                          Understanding the Campaign's Policy:
                                       Reporting
                                    • All staff members have a right to be free from
                                      discrimination and harassment in the workplace.
                                    • If any staff member is aware of discrimination or
                                      harassment, he or she has a responsibility to notify
                                      at least one of the following: immediate supervisor,
                                      Deputy Campaign Manager, or Campaign
                                      Manager.
                                                         BOTTOM LINE:
                                             If you feel something, say something.
                                             If you see something, say something.



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CONFIDENTIAL                                                                              Campaign_L003053
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 97 of 109 PageID #:2674




                                                 Where Can You Go?

                                 Please reach out to your supervisor with any
                                 complaints, questions, or concerns.
                                 If your supervisor is involved, or you feel in
                                 any way not comfortable discussing with your
                                 supervisor, you should feel empowered to
                                 reach out directly to anyone above your
                                 supervisor or a campaign director.
                                 HR has established hr@jbforilgov.com to
                                 make it easier for General Election Team staff
                                 to reach out directly to HR at anytime.
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CONFIDENTIAL                                                                        Campaign_L003054
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 98 of 109 PageID #:2675



                          Understanding the Campaign's Policy:
                                      I nvestigation
                                    The Campaign will address and investigate
                                    the situation and may take such action as
                                    counseling, training, or terminating harassing
                                    parties.




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CONFIDENTIAL                                                                        Campaign_L003055
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 99 of 109 PageID #:2676


                            Understanding the Campaign's Policy:
                                     NO RETALIATION
                                  • Retaliation under the law is suffering "adverse
                                    employment action" as a result of making a claim or
                                    participating in investigation
                                  • Adverse employment actions include-
                                    * Anything that impacts or realistically could have
                                      i mpact on "terms and conditions"
                                    o Anything that could have a "chilling effect" on

                                      willingness to complain

                                                                BOTTOM LINE:
                                                    No one will be subjected to retaliation.
                                                     If you feel/witness retaliation, report!
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CONFIDENTIAL                                                                                        Campaign—L003056
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 100 of 109 PageID #:2677



                                 RECAP:
               Your Responsibilities/Campaign Expectations
                                  • Understand the Campaign's equal opportunity,
                                    anti-discrimination, and anti-harassment
                                    policies
                                  • Take all reasonable steps to prevent
                                    discrimination/harassment from occurring and
                                    foster a RESPECTFUL WORKPLACE
                                  • Do not engage in or contribute to
                                    discrimination, harassment, or retaliation
                                  • Act promptly to report any discrimination,
                                    harassment, and inappropriate behavior

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CONFIDENTIAL                                                                        Campaign_L003057
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 101 of 109 PageID #:2678


                                            RECAP:
                             Golden Rules for Fostering a Respectful
                                           Worknlace


                                                    • Communicate openly and
                                                      respectfully
               TLIAIIWOV •                             Listen
                                                    • Be aware of, and work to
                                                      combat, inherent biases
                                                    • Establish respect and
                                                      understanding
                                                    • Discuss issues as they arise
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CONFIDENTIAL                                                                        Campaign_L003058
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 102 of 109 PageID #:2679




                                                Questions?

                                • Any questions?
                                • You are encouraged to use
                                  hr(ub.ibforilgov.com at anytime — for
                                  complaints, questions, concerns, or to set
                                  up a phone or in person meeting.




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CONFIDENTIAL                                                                        Campaign_L003059
        Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 103 of 109 PageID #:2680




                                                                  Thank you!
                                                 Jeannil Boji I Perkins Coie LLP
                                                 PARTNER
                                                 131 S. Dearborn Street Suite 1700
                                                 Chicago, IL60603-5559
                                                 D. +1.312.324.8419
                                                 F.+1.312.324.9419
                                                 E. JBoii@perkinscoie.com


            Jeannil Boji, a partner in Perkins Coie's Labor and Employment group, counsels clients from startups to
            FORTUNE 100 companies in every aspect of employment law, including the latest developments in non-
            compete and trade secrets law, wage and hour law, leave and sick time law, fair employment, discrimination,
            and accommodation law, privacy issues and workplace investigations, and social media, confidentiality, and
            employment policies. Jeannil has a national practice and is well versed in federal employment law
            developments as well as the nuances of state employment laws throughout the country. Jeannil regularly
            drafts and negotiates executive employment and separation agreements, as well as non-competes and
            other restrictive covenants, and counsels employers on issues of workplace mobility when hiring or dealing
            with the departure of employees subject to employment agreements. Jeannil has successfully handled a
            wide variety of significant employment matters at the agency, state, and federal level, and in
            mediation/arbitration. Jeannil also regularly handles sensitive workplace investigations and internal
            compliance issues and provides employment law-related training.


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CONFIDENTIAL                                                                                                      Campaign—L003060
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 104 of 109 PageID #:2681




                      Exhibit 15
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 105 of 109 PageID #:2682




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                                          5 October 2018


VIA ELECTRONIC MAIL TO:
JB Pritzker, JB Pritzker for Governor
c/o Jonathon Berkon
700 13th Street, NW, Suite 600
Washington, D.C. 20005-3960
JBerkon@perkinscoie.com


                 Re:     Unlawful Discrimination
                         FOR SETTLEMENT PURPOSES ONLY


Dear Mr. Pritzker,

Please be advised that along with The Law Office of Shay T. Allen, Ltd., our firm has been
retained to represent Jason Benton, Jelani Coleman, Celia Colon, Kasmine Calhoun, Maxwell
Little, Erica Kimble, Nathaniel Madison, Tiffany Madison, and Mark Walker (“Clients”), for any
and all claims related to the employment discrimination they have suffered as former and current
employees of JB Pritzker for Governor.

The following is a summary of the facts of their claims, and a settlement demand is included at
the conclusion of this letter. This information is submitted in good faith for the sole purpose of
negotiating a reasonable conclusion to this matter expeditiously and without litigation.

Facts

On September 12, 2018, at a mandatory GOTV training, the majority-minority PODs (5, 6, and
7) were singled out for discrimination. Our Clients were pulled aside and told by Ebonee
Dawson to, “not to say anything stupid during the training.” Also, all of their phones were
confiscated. Then, during the training, white campaign members, such as Caitlin Pharo,
intentionally positioned themselves to separate our Clients in an attempt to further intimidate and
silence them.

Despite these actions, our Clients made multiple attempts to meaningfully participate in what
should have been an important and useful training. Instead, they were once again silenced when,
for example, Gabriella Cascone directed the moderator not to call on, address, or acknowledge
when Clients attempted to make a statement or ask a question.


                                                 1


                                                                                        Campaign_L000482
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 106 of 109 PageID #:2683




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As if the discrimination directed toward them was not enough, the “training” itself was deficient
in many respects, not the least of which was the trainer’s repeated use of racially-discriminatory
and disparaging language.

As the history of complaints at JB Pritzker for Governor reveals, this is not a single incident of
misconduct. In fact, we know that the mandatory training was a response to ongoing complaints
of racial discrimination, which is perhaps the cruelest irony in this entire situation.

That discriminatory conduct is not only tolerated but proliferated by the campaign itself is
evidenced by the admission of Ebonee Dawson that she was instructed to single out and threaten
PODs 5, 6, and 7. That Quentin Fulks has apologized to some of our Clients is immaterial to the
fact that JB Pritzker for Governor continues to discriminate against them and refuses to
meaningfully address the racial discrimination that they face on a daily basis.

For over a week, our Clients’ complaints went completely ignored; and it was not until campaign
officials realized that they were pursuing their legal options that any response at all was
contemplated. Even then, the response was materially deficient.

For example, a full investigation was not completed, nor were all material parties addressed
regarding their role in the incident. Despite this, an impromptu conference call was scheduled
with just 40 minutes notice to address the discrimination. During the call, Anna Capara
admitted to the discrimination but, once again, took no meaningful steps to address it or prevent
it from happening again. Instead, she spent the majority of the call attempting to intimidate our
Clients into waiving their constitutional rights and threatening them.

Furthermore, since that call, and as of this writing, our Clients have continued to be subjected to
intense scrutiny and unwarranted harassment out of fear that they would assert their legal and
Constitutional rights.

Unfortunately, it seems that the practice of JB Pritkzer for Governor is to ignore allegations of
discrimination whenever possible and, that failing, to inoculate higher ups from having to deal
with the very real concerns of their workers by placing the “least offensive” person in positions
of power in order to stymie the voices of our Clients and others.

This truth is reflected in the promotion results of Units 5, 6, and 7, where openings for the
position of Regional Field Director were not posted to give all candidates an equal opportunity to
apply. Worse, when Clients specifically asked whether there was an opening or applications
were being accepted, they were lied to and discouraged from applying only to find that the
positions were soon thereafter filled by less qualified individuals who happened to be cronies of
their Deputy Field Director.


                                                 2


                                                                                        Campaign_L000483
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 107 of 109 PageID #:2684




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Moreover, it has become abundantly clear that the race and/or color of field organizers plays a
predominant role in not only the unit field organizers are assigned to, but also the resources that
are allocated to that unit as well as the expectations for it.

Simply put, from top to bottom, the JB Prtizker Campaign for Governor has a pervasive race
discrimination problem that needs to be addressed.

Legal Analysis

Title VII of the Civil Rights Act of 1964, 42 U.S.C.A. § 2000e-2(a) (1982), states:

        (a) Employer practices

        (b) It shall be an unlawful employment practice for an employer –

            (1) To fail or refuse to hire or to discharge any individual, or otherwise to
                discriminate against any individual with respect to his compensation, terms,
                conditions, or privileges of employment, because of such individual’s race, color,
                religion, sex, or national origin; or

            (2) To limit, segregate, or classify his employees or applicants for employment in any
                way which would deprive or tend to deprive any individual of employment
                opportunities or otherwise adversely affect his status as an employee, because of
                such individual’s race, color, religion, sex, or national origin.

More importantly, 42 U.S.C. §1981, in pertinent parts, states:

        (a) All persons within the jurisdiction of the United States shall have the same right in
            every State and Territory to make and enforce contracts, to sue, be parties, give
            evidence, and to the full and equal benefit of all laws and proceedings for the security
            of persons and property as is enjoyed by white citizens, and shall be subjected to like
            punishment, pains, penalties, taxes, licenses, and exactions of every kind, and to no
            other.

        (b) For purposes of this section, the term “make and enforce contracts” includes the
            making, performance, modification, and termination of contracts, and the enjoyment
            of all benefits, privileges, terms, and conditions of the contractual relationship.

JB Pritzker for Governor and all of its supervisory agents are obligated to treat Clients in a
manner that protected their civil rights. Instead, our Clients were discriminated against, harassed,
verbally assaulted, and physically intimidated—among other wrongs. Based upon the above

                                                 3


                                                                                         Campaign_L000484
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 108 of 109 PageID #:2685




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evidence, Clients can establish that JB Pritzker for Governor is liable for racial discrimination as
it relates to:

                 •   the assignment or classification of employees;
                 •   promotion and compensation;
                 •   job advertisements;
                 •   use of company facilities; and
                 •   employment decisions based on stereotypes of certain racial groups.

Additionally, Clients were subjected to harassment, hostile work environment, and retaliation.
We are confident we can prove our Title VII and Section 1981 claims. Furthermore, and as I am
sure you are aware, Section 1981 neither requires that a charge be filed with the Equal
Employment Opportunity Commission nor has a cap on damages.

Damages

Our clients have suffered a great deal due to the continued and pervasive discrimination that
permeates all levels of hierarchy at JB Pritzker for Governor. Despite this, they have continually
met and exceeded their expectations at work as they sincerely believe in what JB Pritzker
represents.

It is difficult to reconcile the ideals that our Clients labor for day in and day out with the
pernicious employment practices and hostile work environment of the Pritzker Campaign.

Despite numerous complaints, their concerns, on the best occasions, have prompted meaningless
and conclusory “investigations” that result in no change and, most often, are completely ignored.
No person ought to be forced to work in such conditions, and JB Pritzker for Governor should be
earnestly committed to resolving the issues addressed in this correspondence to ensure that no
other employees are subjected to workplace discrimination.

To that end, our clients are prepared to resolve this matter pursuant to the following terms and
conditions:

        1. JB Pritzker for Governor shall cease and desist from engaging in discriminatory
           practices as prohibited under Title VII, Section 1981, and all other applicable U.S.
           laws;

        2. JB Pritzker for Governor shall timely post all job openings in each office, as well as
           send out electronic notifications to all employees, and leave such postings open for a
           reasonable period of time in order to allow all interested employees the opportunity to
           apply;

                                                  4


                                                                                         Campaign_L000485
Case: 1:18-cv-06954 Document #: 159-1 Filed: 09/11/20 Page 109 of 109 PageID #:2686




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        3. JB Pritzker for Governor shall, within seven calendar days, employ a Chief Diversity
           Officer to oversee and audit the campaign’s employment practices, and to prevent and
           discipline discrimination;

        4. In the event JB Pritzker is successful in his bid for Governor, he shall appoint a Chief
           Diversity Officer to oversee and audit the Executive Branch’s employment practices,
           and to prevent and discipline discrimination;

        5. Within seven calendar days, JB Pritzker for Governor shall create a meaningful anti-
           discrimination policy which shall be added to the employee manual and distributed to
           all active and future employees;

        6. JB Pritzker for Governor shall conduct mandatory anti-discrimination training with
           all supervisory and management personnel;

        7. Clients shall receive a personalized letter of recommendation from JB Pritzker for
           Governor; and

        8. Clients shall be compensated actual and punitive damages in the sum of $7.5 million.

This settlement offer expires on Monday, October 8, 2018. If I do not hear from you by that date,
our Clients will pursue all available legal remedies.

Once you have had an opportunity to review this offer, please contact me so that we may discuss
a resolution to this situation.

                                      Cordially,



                                      /s/ Jeanette Samuels


cc:     Shay Allen
        Ben Stafford




                                                   5


                                                                                        Campaign_L000486
